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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES – GENERAL

   Case No. SACV20-00993 MCS (DFMx)                                          Date: July 19, 2021
    Title   Netlist, Inc. v. Samsung Electronics



     Present: The Honorable         Douglas F. McCormick, United States Magistrate Judge

                      Nancy Boehme                                      AT&T Digital Recording
                       Deputy Clerk                                          Court Reporter
                Attorney(s) for Plaintiff(s):                       Attorney(s) for Defendant(s):
                                                                               Chris Lee
                       Jason Lo
                                                                             Jong-Min Choi
                   Raymond LaMagna
                                                                              Marc Masters

   Proceedings:      Informal Discovery Conference


       Case called and counsel make their appearances. Court and counsel confer regarding
conflict. Court vacates hearings and instructs clerk to have the case reassigned to a new
Magistrate Judge.




                                                                                                    :       10
                                                                  Initials of Clerk    nb




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